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 3   San Francisco, CA 94111
     (415) 989-7900
 4
     Attorneys for Defendant
 5   JIAPEI ZHOU
 6
 7                                UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,                                    Criminal No. 2:06-cr-0390 EJG
                                                                  STIPULATION AND
10                                 Plaintiff,                     ORDER TO
                                                                  CONTINUE NOVEMBER 16, 2007
11                                                                STATUS CONFERENCE AND
                                                                  EXCLUDE TIME
12   v.
13   JIAPEI ZHOU, et al.,                                         Date: November 16, 2007
                                                                  Time:10:00am
14                           Defendants.
     _______________________________________/
15
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Heiko
16
     Coppola, counsel for the plaintiff, and below signed counsel in the above mentioned case, that
17
     the status conference now scheduled for November 16, 2007 at 10:00a.m., is extended until
18
     December 21, 2007 at 10:00am., or as soon thereafter as is convenient for the Court.
19
            This continuance is sought by the defense in order to permit further review of discovery,
20
     continuation of on-going investigation, and consultation with the defendant.
21
            No party objects to the requested continuance.
22
            The court interpreter coordinator, Yolanda Riley Portal has been notified and has
23
     indicated that December 21, 2007 is an available date for the interpreter’s office.
24
            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act continue to
25
     be excluded from November 16, 2007 through December 21, 2007, pursuant to 18 U.S.C.§ 3161
26
     (h)(8)(A) & (B)(ii) and (iv), Local Codes T-2 and T-4.
27
28
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 1         IT IS SO STIPULATED.
 2
     Dated: 11-15-07                          ___________/s/__________________
 3                                            HEIKO COPPOLA
                                              Counsel for Plaintiff
 4
 5   Dated: 11-15-07                          ___________/s/__________________
                                              DOUGLAS L. RAPPAPORT
 6                                            Counsel for JIAPEI ZHOU
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14                                      ORDER
15
16   IT IS SO ORDERED
17
18   Dated: November 15, 2007                 /s/ Edward J. Garcia
                                              HON. EDWARD J. GARCIA
19                                            Senior United States District Court Judge
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             Case 2:06-cr-00390-WBS Document 79 Filed 11/19/07 Page 3 of 3


 1
     U.S. v. ZHOU Case # 2:06-cr-0390 EJG
 2
                                 CERTIFICATE OF SERVICE
 3
           I, hereby certify under penalty of perjury that on the 15TH day of November 2007, I
 4         served the STIPULATION AND [ PROPOSED ] ORDER TO CONTINUE
           NOVEMBER STATUS CONFERENCE AND EXCLUDE TIME via electronic
 5         notification through CM/ECF system to Heiko Coppola -Assistant United States
           Attorneys, and to all counsel for co-defendants.
 6
 7                                             _____________/s/___________________________
                                               VERONICA DAVIS
 8                                             Assistant to Douglas L. Rappaport
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